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             JOHN W. HARGRAVE, ESQUIRE
            JOHN W. HARGRAVE & ASSOCIATES
            117 Clements Bridge Road
                                                                                                    Order Filed on January 4, 2016
            Barrington, New Jersey 08007                                                           by Clerk U.S. Bankruptcy Court
            (856) 547-6500                                                                             District of New Jersey

            Attorneys for John W. Hargrave, Chapter 7 Trustee
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